OAO 245B     Case    2:06-cr-20054-RTD
              (Rev. 06/05) Judgment in a Criminal Case Document 16           Filed 04/06/07                Page 1 of 4 PageID #: 41
              Sheet 1



                                        UNITED STATES DISTRICT COURT
                        WESTERN                                   District of                                  ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             V.

               VASSO DROSOPOULOS                                          Case Number:                        2:06CR20054-001
                                                                          USM Number:                         07862-010

                                                                          Rex W. Chronister
                                                                          Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        One (1) of an Information on November 8, 2006

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended             Count

31 U.S.C. §§ 5324(3) and          Structuring Financial Transactions with Domestic Financial                    05/13/2007                 1
5313(a); 18 U.S.C. § 371          Institution to Evade Reporting Requirements; Conspiracy to
                                  Defraud the United States


        The defendant is sentenced as provided in pages 2 through         4     of this judgment. The sentence is imposed within the
statutory range and the U.S. Sentencing Guidelines were considered as advisory.
G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          April 5, 2007
                                                                          Date of Imposition of Judgment


                                                                          / S / Robert T. Dawson
                                                                          Signature of Judge




                                                                          Honorable Robert T. Dawson, United States District Judge
                                                                          Name and Title of Judge


                                                                          April 5, 2007
                                                                          Date
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                Sheet 2 — Imprisonment

                                                                                                            Judgment — Page   2       of   4
    DEFENDANT:                    VASSO DROSOPOULOS
    CASE NUMBER:                  2:06CR20054-001


                                                                  IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:     One (1) day with credit for time served.

    .




        G   The court makes the following recommendations to the Bureau of Prisons:




        G   The defendant is remanded to the custody of the United States Marshal.

        G   The defendant shall surrender to the United States Marshal for this district:

            G     at                                     G a.m.      G p.m.        on                                             .

            G     as notified by the United States Marshal.

        G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            G     before 1 p.m. on                                             .

            G     as notified by the United States Marshal.

            G     as notified by the Probation or Pretrial Services Office.


                                                                        RETURN
    I have executed this judgment as follows:




            Defendant delivered on                                                             to

a                                                         , with a certified copy of this judgment.



                                                                                                         UNITED STATES MARSHAL


                                                                                By
                                                                                                      DEPUTY UNITED STATES MARSHAL
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          Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page         3   of       4
DEFENDANT:                        VASSO DROSOPOULOS
CASE NUMBER:                      2:06CR20054-001
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         Fine                                   Restitution
TOTALS            $   100.00                                           $ 2,000.00                             $ -0-



G The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                 Total Loss*                           Restitution Ordered                  Priority or Percentage




TOTALS                              $                            0           $                            0


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the             X fine      G restitution.
     G the interest requirement for the              G fine    G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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           Sheet 6 — Schedule of Payments

                                                                                                          Judgment — Page     4     of          4
DEFENDANT:                  VASSO DROSOPOULOS
CASE NUMBER:                2:06CR20054-001

                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    X Lump sum payment of $               2,100.00          due immediately, balance due

          G      not later than                                   , or
          G      in accordance           G C,         G D,   G      E, or     G F below; or
B    G Payment to begin immediately (may be combined with                   G C,      G D, or     G F below); or
C    G Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
